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                      UNITED STATES DISTRICT COURT
15                   CENTRAL DISTRICT OF CALIFORNIA
16    YITZCHOK FRANKEL et al.,                        Case No.: 2:24-cv-04702
17         Plaintiffs,
                                                      [PROPOSED] ORDER
18    v.
                                                      GRANTING PLAINTIFFS’
19    REGENTS OF THE UNIVERSITY OF                    MOTION FOR
      CALIFORNIA et al.,
20                                                    PRELIMINARY
           Defendants.                                INJUNCTION
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22
                                                      Date: July 22, 2024
23                                                    Time: 9:00 a.m.
24                                                    Courtroom: 7C
                                                      Judge: Hon. Mark C. Scarsi
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     * admitted pro hac vice
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1       Pending before the Court is Plaintiffs’ motion for a preliminary
2    injunction. Having reviewed the papers filed in support of and in
3    opposition to this motion, as well as all supporting declarations and
4    exhibits, the Court hereby GRANTS Plaintiffs’ motion for a preliminary
5    injunction on the following basis:
6       The Court finds that Defendants have instructed police and other
7    security not to intervene in or prevent the active exclusion of Jewish
8    students from the educational facilities, other indoor and outdoor campus
9    spaces, and programs and activities of the University of California, Los
10   Angeles.
11      The Court further finds that Defendants have facilitated and
12   cooperated in the exclusion of Jewish students from the educational
13   facilities, other indoor and outdoor campus spaces, and programs and
14   activities affiliated with the University of California, Los Angeles.
15      The Court therefore concludes that Plaintiffs have demonstrated a
16   likelihood of success on the merits of their claims that Defendants’
17   actions violated the Free Exercise Clause of the First Amendment to the
18   United States Constitution (Counts III and IV), the Free Speech Clause
19   of the First Amendment to the United States Constitution (Count II), the
20   Equal Protection Clause of the Fourteenth Amendment to the United
21   States Constitution (Count I), and Title VI of the Civil Rights Act of 1964
22   (Count VI).
23      The Court also concludes that Plaintiffs have shown that they will
24   suffer irreparable harm without relief, that the harms to their rights
25   outweigh any harm to the Defendants’ interests, and that the public
26   interest favors the protection of Plaintiffs’ constitutional and civil rights.
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28
       [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                               INJUNCTION
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1       Based on these findings of fact and conclusions of law, the Court
2    ORDERS as follows:
3       1. Defendants are ENJOINED from allowing any person to establish
4          an encampment or checkpoint intended to, or having the effect of,
5          denying Jewish students access to any UCLA educational facility,
6          any indoor or outdoor space on UCLA’s campus, or any UCLA-
7          affiliated program or activity.
8       2. Defendants are ENJOINED from applying any of their policies in a
9          way that would give Jewish students less than full and equal access
10         to the UCLA campus or any UCLA facility or program.
11      3. Defendants are ENJOINED from enforcing their existing policy
12         against preemptively requesting law enforcement involvement and
13         are instead ORDERED to request both University of California
14         police and other security personnel, as well as non-University law
15         enforcement personnel, to intervene immediately when an
16         individual prevents Jewish students from enjoying full and equal
17         access to the UCLA campus or any UCLA facility or program.
18      4. Defendants are ENJOINED from enforcing their policies, including
19         student, faculty, and staff disciplinary policies, in a way that allows
20         individual members of the UCLA community, including students,
21         faculty, and staff, to prevent Jewish students from enjoying full and
22         equal access to the UCLA campus and any UCLA facility or
23         program.
24      5. Defendants are ENJOINED from enforcing their policies in a way
25         that allows individuals who are not members of the UCLA
26         community to prevent Jewish students from enjoying full and equal
27         access to the UCLA campus and any UCLA facility or program.
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       [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                               INJUNCTION
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1       6. Within 14 days of the issuance of this Order, Defendants are
2          ORDERED to submit to the Court a proposed Remediation Plan
3          explaining what steps, including any changes to existing policies
4          and practices, they will take to ensure that Jewish students enjoy
5          full and equal access to the UCLA campus and all UCLA facilities.
6       7. This preliminary injunction shall take effect immediately and shall
7          remain in effect pending trial in this action or further order of this
8          Court.
9       8. This Court determines that no bond shall be required.
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     Dated:                                    ______________________________
13                                             The Honorable Mark C. Scarsi
14                                             United States District Judge

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       [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                               INJUNCTION
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